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                      Composite Exhibit 1
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                                                       ( Use the "Back" button of the Internet Browser to return to TESS)



 Word Mark                   TIFFANY & CO.
 Goods and Services          IC 014. US 028. G & S: Jewelry and Watches. FIRST USE: 18680000. FIRST USE IN COMMERCE:
                             18680000
 Standard Characters
 Claimed
 Mark Drawing Code           (4) STANDARD CHARACTER MARK
 Serial Number               70023573
 Filing Date                 July 29, 1893
 Current Basis               1A
 Original Filing Basis       1A
 Change In
                             CHANGE IN REGISTRATION HAS OCCURRED
 Registration
 Registration Number 0023573
 Registration Date           September 5, 1893
 Owner                       (REGISTRANT) Tiffany & Company CORPORATION NEW YORK New York NEW YORK

                             (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                             PARSIPPANY NEW JERSEY 07054
 Assignment
                             ASSIGNMENT RECORDED
 Recorded
 Attorney of Record          LAWRENCE E. APOLZON
 Type of Mark                TRADEMARK
 Register                    PRINCIPAL
 Affidavit Text              SECTION 8(10-YR) 20121117.
 Renewal                     6TH RENEWAL 20121117
 Live/Dead Indicator         LIVE




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                                      Trademark Assignment Abstract of Title
  Total Assignments: 8
          Serial #: 70023573                Filing Dt: 07/29/1893                  Reg #: 23573                       Reg. Dt: 09/05/1893
       Registrant: Tiffany & Company
             Mark: TIFFANY & CO.
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=70023573[3/19/2015 2:48:21 PM]
USPTO Assignments on the Web
           Case 0:17-cv-61268-WPD Document 1-1 Entered on FLSD Docket 06/28/2017 Page 6 of 61
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 0772/0319                          Recorded: 11/09/1990                                             Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: ROBERTSON - CECO CORPORATION                                                      Exec Dt: 11/08/1990
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
        Assignee: WELLS FARGO BANK, N. A.                                                        Entity Type: A NATIONAL BANKING
                                                                                                              ASSOCIATION
                   9TH FLOOR
                                                                                                 Citizenship: NONE
                   333 SOUTH GRAND AVENUE

                   LOS ANGELES, CALIFORNIA 90071

  Correspondent: SHEPPARD, MULLIN, RICHTER & HAMPTON

                   FORTH - EIGHTH FLOOR

                   333 SOUTH HOPE STREET

                   LOS ANGELES, CA 90071
  Assignment: 5
     Reel/Frame: 0857/0891                           Recorded: 03/06/1992                                              Pages: 8

     Conveyance: MODIFICATION TO COLLATERAL ASSIGNMENT TO MODIFY AGREEMENT DATED 11-08-90 (SEE RECORD FOR DETAILS)
        Assignor: ROBERTSON-CECO CORPORATION                                                        Exec Dt: 01/31/1992
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
        Assignee: WELLS FARGO BANK N.A.                                                          Entity Type: A NATIONAL BANKING
                                                                                                              ASSOCIATION, AS AGENT
                                                                                                 Citizenship: NONE

  Correspondent: GIBSON, DUNN & CRUTCHER

                   ONE MONTGOMERY STREET

                   TELESIS TOWER

                   SAN FRANCISCO, CALIFORNIA 94104-4505
  Assignment: 6
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                              Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 7


http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=70023573[3/19/2015 2:48:21 PM]
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     Reel/Frame: 3757/0871                                 Recorded: 04/10/2008                                                              Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: CORPORATION
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 8
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                 CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                 CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                 ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                 (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


                                                                                                                                      Search Results as of: 03/19/2015 02:47 PM
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                                                             Web interface last modified: July 25, 2014 v.2.5




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 Word Mark           TIFFANY
 Goods and           IC 008 014. US 028. G & S: Jewelry for Personal Wear, Not Including Watches; [Precious Stones,] and Flat and
 Services            Hollow Ware Made of or Plated with Precious Metal. FIRST USE: 18680000. FIRST USE IN COMMERCE: 18680000
 Mark
 Drawing             (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Code
 Serial
                     71126975
 Number
 Filing Date         January 9, 1920
 Current
                     1A
 Basis
 Original
                     1A
 Filing Basis
 Registration
              0133063
 Number
 Registration
              July 6, 1920
 Date
 Owner               (REGISTRANT) TIFFANY & COMPANY CORPORATION NEW YORK 727 FIFTH AVENUE NEW YORK NEW YORK
                     10022

                     (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                     PARSIPPANY NEW JERSEY 07054
 Assignment
                     ASSIGNMENT RECORDED
 Recorded
 Attorney of
                     LAWRENCE E. APOLZON
 Record
 Prior
               0023572;0023573;0058872
 Registrations
 Type of Mark TRADEMARK



http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.3.1[3/19/2015 2:56:16 PM]
Trademark Electronic Search System (TESS)
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 Register         PRINCIPAL
 Affidavit Text SECTION 8(10-YR) 20101229.
 Renewal          4TH RENEWAL 20101229
 Live/Dead
                  LIVE
 Indicator




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http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.3.1[3/19/2015 2:56:16 PM]
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                                      Trademark Assignment Abstract of Title
  Total Assignments: 7
          Serial #: 71126975                Filing Dt: 01/09/1920                  Reg #: 133063                      Reg. Dt: 07/06/1920
       Registrant: TIFFANY & COMPANY
             Mark: TIFFANY
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




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USPTO Assignments on the Web
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        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                           Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                           Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                           Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                 Exec Dt: 01/29/2008
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                               Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 7



http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=71126975[3/19/2015 2:56:40 PM]
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     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


                                                                                                                                      Search Results as of: 03/19/2015 02:56 PM
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                                                             Web interface last modified: July 25, 2014 v.2.5




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      Logout    Please logout when you are done to release system resources allocated for you.

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                                                       ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark           TIFFANY & CO.
 Goods and           IC 008. US 023. G & S: Bottle Openers Made in Whole or in Part of Precious or Semi-Precious Metals. FIRST USE:
 Services            19080000. FIRST USE IN COMMERCE: 19080000

                     IC 014. US 002 027 028 050. G & S: Decorative Art Objects Made in Whole or in Part of Precious or Semi-Precious
                     Metals-Namely, Figurines, Boxes, Bowls, Trays, [ and Flowers, ] Jewelry, Metal Wares Made in Whole or in Part of
                     Precious or Semi-Precious Metals-Namely, Business Card Cases, Candelabras, Candlesticks, Cigar and Cigarette
                     Boxes, Napkin Rings, and Bookmarks, Semi-Precious Stones, Natural and Cultured Pearls. FIRST USE: 18680000.
                     FIRST USE IN COMMERCE: 18680000
 Mark
 Drawing             (1) TYPED DRAWING
 Code
 Serial
                     73304929
 Number
 Filing Date         April 9, 1981
 Current
                     1A
 Basis
 Original
                     1A
 Filing Basis
 Published
 for                 November 30, 1982
 Opposition
 Change In
              CHANGE IN REGISTRATION HAS OCCURRED
 Registration
 Registration
              1228189
 Number
 Registration
              February 22, 1983
 Date
 Owner               (REGISTRANT) Tiffany & Company CORPORATION NEW YORK 727 5th Ave. New York NEW YORK 10022

                     (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                     PARSIPPANY NEW JERSEY 07054
 Assignment
                     ASSIGNMENT RECORDED
 Recorded
 Attorney of
                     LAWRENCE E. APOLZON
 Record



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Trademark Electronic Search System (TESS)
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 Prior
               0058872
 Registrations
 Type of Mark TRADEMARK
 Register         PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130131.
 Renewal          2ND RENEWAL 20130131
 Live/Dead
                  LIVE
 Indicator




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 Assignments on the Web > Trademark Query


                                      Trademark Assignment Abstract of Title
  Total Assignments: 7
          Serial #: 73304929                Filing Dt: 04/09/1981                  Reg #: 1228189                     Reg. Dt: 02/22/1983
       Registrant: Tiffany & Company
             Mark: TIFFANY & CO.
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=73304929[3/19/2015 3:01:55 PM]
USPTO Assignments on the Web
          Case 0:17-cv-61268-WPD Document 1-1 Entered on FLSD Docket 06/28/2017 Page 19 of 61
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                           Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                           Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                           Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                 Exec Dt: 01/29/2008
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                               Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 7



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USPTO Assignments on the Web
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     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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 Word Mark           TIFFANY
 Goods and           IC 014. US 002 027 028 050. G & S: Decorative Art Objects Made in Whole or in Part of Precious or Semi-Precious
 Services            Metals-Namely, Figurines, Boxes, Bowls, Trays, [ and Flowers, ] Jewelry, Semi-Precious Stones, and Natural and
                     Cultured Pearls. FIRST USE: 18680000. FIRST USE IN COMMERCE: 18680000
 Mark
 Drawing             (1) TYPED DRAWING
 Code
 Serial
                     73304915
 Number
 Filing Date         April 9, 1981
 Current
                     1A
 Basis
 Original
                     1A
 Filing Basis
 Published
 for                 November 30, 1982
 Opposition
 Registration
              1228409
 Number
 Registration
              February 22, 1983
 Date
 Owner               (REGISTRANT) Tiffany & Company CORPORATION NEW YORK 727 5th Ave. New York NEW YORK 10022

                     (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                     PARSIPPANY NEW JERSEY 07054
 Assignment
                     ASSIGNMENT RECORDED
 Recorded
 Attorney of
                     LAWRENCE E. APOLZON
 Record
 Prior
               0132262;0133063;0139646
 Registrations
 Type of Mark TRADEMARK
 Register            PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130204.
 Renewal             2ND RENEWAL 20130204


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                  LIVE
 Indicator




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                                      Trademark Assignment Abstract of Title
  Total Assignments: 8
          Serial #: 73304915                Filing Dt: 04/09/1981                  Reg #: 1228409                     Reg. Dt: 02/22/1983
       Registrant: Tiffany & Company
             Mark: TIFFANY
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




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USPTO Assignments on the Web
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        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                            Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                            Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 1961/0759                          Recorded: 11/22/1999                                           Pages: 22

     Conveyance: SECURITY AGREEMENT
        Assignor: PAYLESS CASHWAYS, INC.                                                            Exec Dt: 11/17/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
        Assignee: CONGRESS FINANCIAL CORPORATION (CENTRAL)                                       Entity Type: CORPORATION
                                                                                                 Citizenship: ILLINOIS
                   150 S. WACKER DRIVE

                   CHICAGO, ILLINOIS 60606

  Correspondent: OTTERBOURG, STEINDLER, HOUSTON & ROSEN

                   ATTN: MITCHELL M. BRAND, ESQ.

                   230 PARK AVENUE

                   NEW YORK, NEW YORK 10169
  Assignment: 7



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USPTO Assignments on the Web
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     Reel/Frame: 3757/0871                                 Recorded: 04/10/2008                                                              Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: CORPORATION
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 8
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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 Word Mark           TIFFANY & CO.
 Goods and           IC 014. US 002 027 028 050. G & S: Desk Accessories-Namely, Calendar and Photograph Frames; Bar Accessories-
 Services            Namely, Coasters, Tumblers, Pitchers, and Corkscrews; Clothing Accessories-Namely, Money Clips, Cufflinks, Key
                     Holders, Collar Clips, [Collar Pins,] Collar Stays, Tie Bars; Tie Tacks; Tie Slides; Belt Buckles, and Studs; Baby Gifts-
                     Namely, [Milk Cups,] Porringers [and Rattles; Sewing Needles; Sewing Spools; Sewing Thimbles;] Perfume Flasks;
                     [Toothpicks; ]Barrettes; [Decorative Magnets;] Pill Boxes; [Pin Boxes;] and Stymie Markers; All Made of or Plated with
                     Precious or Semi-Precious Metals. FIRST USE: 18670000. FIRST USE IN COMMERCE: 18670000
 Mark
 Drawing             (1) TYPED DRAWING
 Code
 Serial
                     73416496
 Number
 Filing Date         March 9, 1983
 Current
                     1A
 Basis
 Original
                     1A
 Filing Basis
 Published
 for                 April 3, 1984
 Opposition
 Registration
              1283306
 Number
 Registration
              June 26, 1984
 Date
 Owner               (REGISTRANT) Tiffany and Company CORPORATION NEW YORK 727 Fifth Ave. New York NEW YORK 10022

                     (LAST LISTED OWNER) TIFFANY (NJ) LLC CORPORATION DELAWARE 15 SYLVAN WAY PARSIPPANY NEW
                     JERSEY 07054
 Assignment
                     ASSIGNMENT RECORDED
 Recorded
 Attorney of
                     LAWRENCE E. APOLZON
 Record
 Prior
               1217065;1251356;AND OTHERS
 Registrations
 Type of Mark TRADEMARK



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Trademark Electronic Search System (TESS)
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 Register         PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20140920.
 Renewal          2ND RENEWAL 20140920
 Live/Dead
                  LIVE
 Indicator




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http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.6.1[3/19/2015 3:10:34 PM]
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                                      Trademark Assignment Abstract of Title
  Total Assignments: 7
          Serial #: 73416496                Filing Dt: 03/09/1983                  Reg #: 1283306                     Reg. Dt: 06/26/1984
       Registrant: Tiffany and Company
             Mark: TIFFANY & CO.
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

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        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

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                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
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                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=73416496[3/19/2015 3:11:05 PM]
USPTO Assignments on the Web
          Case 0:17-cv-61268-WPD Document 1-1 Entered on FLSD Docket 06/28/2017 Page 31 of 61
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                           Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                           Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                           Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                 Exec Dt: 01/29/2008
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                               Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 7



http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=73416496[3/19/2015 3:11:05 PM]
USPTO Assignments on the Web
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     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
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                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
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                   15 SYLVAN WAY

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  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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                                                             Web interface last modified: July 25, 2014 v.2.5




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                                                        ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark                   ATLAS
 Goods and Services IC 014. US 027. G & S: WATCHES AND CLOCKS. FIRST USE: 19840000. FIRST USE IN COMMERCE:
                    19840000
 Mark Drawing Code (1) TYPED DRAWING
 Serial Number               74008076
 Filing Date                 December 5, 1989
 Current Basis               1A
 Original Filing Basis 1A
 Published for
                             April 17, 1990
 Opposition
 Registration Number 1605467
 Registration Date           July 10, 1990
 Owner                       (REGISTRANT) TIFFANY AND COMPANY CORPORATION NEW YORK 727 FIFTH AVENUE NEW YORK
                             NEW YORK 10022

                             (LAST LISTED OWNER) TIFFANY (NJ) LLC CORPORATION DELAWARE 15 SYLVAN WAY PARSIPPANY
                             NEW JERSEY 07054
 Assignment
                             ASSIGNMENT RECORDED
 Recorded
 Attorney of Record          LAWRENCE E. APOLZON
 Type of Mark                TRADEMARK
 Register                    PRINCIPAL
 Affidavit Text              SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20090831.
 Renewal                     2ND RENEWAL 20090831
 Live/Dead Indicator         LIVE




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                                    Trademark Assignment Abstract of Title
  Total Assignments: 4
          Serial #: 74008076                Filing Dt: 12/05/1989                  Reg #: 1605467                  Reg. Dt: 07/10/1990
       Registrant: TIFFANY AND COMPANY
             Mark: ATLAS
  Assignment: 1
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                            Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 2
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                            Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 3
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                            Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                  Exec Dt: 01/29/2008
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                Entity Type: CORPORATION
                                                                                                  Citizenship: DELAWARE
                   15 SYLVAN WAY




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=74008076[3/19/2015 3:15:23 PM]
USPTO Assignments on the Web
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                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 4
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                 CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                 CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                 ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                 (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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                                                             Web interface last modified: July 25, 2014 v.2.5




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 Word Mark            T & CO.
 Goods and            IC 014. US 028. G & S: all types of jewelry made of, or in part of, precious metals and/or with precious or semi-
 Services             precious stones. FIRST USE: 19790000. FIRST USE IN COMMERCE: 19790000
 Mark Drawing
              (1) TYPED DRAWING
 Code
 Serial Number 74104857
 Filing Date          October 11, 1990
 Current Basis 1A
 Original Filing
                 1A
 Basis
 Published for
                      October 1, 1991
 Opposition
 Registration
                      1669365
 Number
 Registration
                      December 24, 1991
 Date
 Owner                (REGISTRANT) TIFFANY AND COMPANY CORPORATION NEW YORK 727 Fifth Avenue New York NEW YORK
                      10022

                      (LAST LISTED OWNER) TIFFANY (NJ) LLC CORPORATION DELAWARE 15 SYLVAN WAY PARSIPPANY NEW
                      JERSEY 07054
 Assignment
                      ASSIGNMENT RECORDED
 Recorded
 Attorney of
                      LAWRENCE E. APOLZON
 Record
 Prior
                      0261711
 Registrations
 Disclaimer           NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "CO." APART FROM THE MARK AS SHOWN
 Type of Mark         TRADEMARK
 Register             PRINCIPAL
 Affidavit Text       SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20110809.
 Renewal              2ND RENEWAL 20110809
 Live/Dead
                      LIVE
 Indicator



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                                    Trademark Assignment Abstract of Title
  Total Assignments: 4
          Serial #: 74104857                Filing Dt: 10/11/1990                  Reg #: 1669365                  Reg. Dt: 12/24/1991
       Registrant: TIFFANY AND COMPANY
             Mark: T & CO.
  Assignment: 1
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                            Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 2
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                            Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 3
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                            Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                  Exec Dt: 01/29/2008
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                Entity Type: CORPORATION
                                                                                                  Citizenship: DELAWARE
                   15 SYLVAN WAY




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                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 4
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                 CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                 CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                 ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                 (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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                                                             Web interface last modified: July 25, 2014 v.2.5




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                                                       ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark               TIFFANY & CO.
 Goods and               IC 014. US 002 027 028 050. G & S: all types of timepieces, including especially watches and clocks. FIRST
 Services                USE: 18950000. FIRST USE IN COMMERCE: 18950000
 Mark Drawing
                         (1) TYPED DRAWING
 Code
 Serial Number           74688573
 Filing Date             June 14, 1995
 Current Basis           1A
 Original Filing
                         1A
 Basis
 Published for
                         January 23, 1996
 Opposition
 Registration
                         1968614
 Number
 Registration
                         April 16, 1996
 Date
 Owner                   (REGISTRANT) TIFFANY AND COMPANY CORPORATION NEW YORK 727 Fifth Avenue New York NEW
                         YORK 10022

                         (LAST LISTED OWNER) TIFFANY (NJ) LLC CORPORATION DELAWARE 15 SYLVAN WAY PARSIPPANY NEW
                         JERSEY 07054
 Assignment
                         ASSIGNMENT RECORDED
 Recorded
 Attorney of
                         LAWRENCE E. APOLZON
 Record
 Disclaimer              NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "& CO." APART FROM THE MARK AS SHOWN
 Type of Mark            TRADEMARK
 Register                PRINCIPAL
 Affidavit Text          SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20050913.
 Renewal                 1ST RENEWAL 20050913
 Live/Dead
                         LIVE
 Indicator




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                                    Trademark Assignment Abstract of Title
  Total Assignments: 3
          Serial #: 74688573                Filing Dt: 06/14/1995                  Reg #: 1968614                  Reg. Dt: 04/16/1996
       Registrant: TIFFANY AND COMPANY
             Mark: TIFFANY & CO.
  Assignment: 1
     Reel/Frame: 2339/0843                           Recorded: 07/23/2001                                            Pages: 2

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: FROSS, ZELNICK, LEHRMAN & ZISSU, P.C.

                   PATRICK BOISSON

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 2
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                            Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                  Exec Dt: 01/29/2008
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                Entity Type: CORPORATION
                                                                                                  Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 3
     Reel/Frame: 3786/0665                           Recorded: 06/02/2008                                            Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                  Exec Dt: 01/29/2008
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=74688573[3/19/2015 3:19:45 PM]
USPTO Assignments on the Web
          Case 0:17-cv-61268-WPD Document 1-1 Entered on FLSD Docket 06/28/2017 Page 45 of 61
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


                                                                                                                                      Search Results as of: 03/19/2015 03:19 PM
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                                                             Web interface last modified: July 25, 2014 v.2.5




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 Goods and           IC 003. US 001 004 006 050 051 052. G & S: Fragrance products, namely, perfume, cologne, toilet water, [ toilet
 Services            soap, baby powder, body cream, bath gel, shower gel, ] body lotion [ and personal deodorant ]. FIRST USE:
                     19870000. FIRST USE IN COMMERCE: 19870000

                     IC 008. US 023 028 044. G & S: Tableware, namely, knives, forks and spoons; pocket knives, [ scissors, ] and razors.
                     FIRST USE: 19390000. FIRST USE IN COMMERCE: 19390000

                     IC 014. US 002 027 028 050. G & S: Jewelry; watches and clocks; precious and semi-precious stones; decorative art
                     objects made in whole or in part of precious metals and their alloys, namely, figurines, boxes and trophies; natural and
                     cultured pearls; metal wares made in whole or in part of precious metals and their alloys, namely, candelabras,
                     candlesticks, cigar and cigarette boxes and ashtrays; bowls, serving trays, tumblers, pitchers, corkscrews, cups,
                     porringers, [ toothpicks ] and perfume flasks sold empty, all made in whole or in part of precious metals and their
                     alloys; bar accessories made of precious metals and their alloys, namely, coasters; clothing accessories made of
                     precious metals and their alloys, namely, money clips, cufflinks, [ key holders, ] key rings, [ collar clips, collar pins, ]
                     collar stays, tie bars, tie tacks, tie slides, belt buckles, and shirt studs; pill boxes and pin boxes made of or plated with
                     precious metals and their alloys; baby rattles, golf clubs, and place markers for golf balls made in whole or in part of
                     precious metals and their alloys; picture calendar and photograph frames made in whole or in part of precious metals
                     and their alloys. FIRST USE: 19390000. FIRST USE IN COMMERCE: 19390000

                     IC 016. US 002 005 022 023 029 037 038 050. G & S: Stationery; diaries, calendars, personal organizers, [ drawing
                     rulers, ] bookmarks, writing instruments and playing cards. FIRST USE: 19390000. FIRST USE IN COMMERCE:
                     19390000

                     IC 018. US 001 002 003 022 041. G & S: Leather goods, namely, [ purses, handbags, ] wallets, credit card cases [
                     and key cases ]. FIRST USE: 19390000. FIRST USE IN COMMERCE: 19390000

                     IC 021. US 002 013 023 029 030 033 040 050. G & S: Crystal glasses, bowls, vases, candy and jelly jars,
                     candlesticks, serving platters, decorative boxes, buckets and baskets; china, porcelain, and earthenware dinnerware,
                     bowls, serving platters, tea and coffee sets, mugs, vases, candy [ and jelly jars ], candlesticks, boxes and baskets.
                     FIRST USE: 19390000. FIRST USE IN COMMERCE: 19390000

                     IC 025. US 022 039. G & S: Clothing, namely, neckties, scarves and belts. FIRST USE: 19390000. FIRST USE IN
                     COMMERCE: 19390000




http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.10.1[3/19/2015 3:20:30 PM]
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                  IC 035. US 100 101 102. G & S: Retail store and mail order catalog services featuring jewelry, watches and clocks,
                  giftware, dinnerware, flatware, table service pieces, baby gifts, decorative home furnishings, stationery, writing
                  instruments and desk accessories, clothing and accessories, trophies and medals, smokers' accessories, weather
                  monitoring accessories, bar accessories, and perfumery. FIRST USE: 19390000. FIRST USE IN COMMERCE:
                  19390000
 Mark
 Drawing          (2) DESIGN ONLY
 Code
 Design      19.05.25 - Boxes, cardboard (packing or storage); Cartons, packing or storage; Dumpster; Freight containers; Other
 Search Code large containers; Pallets for storing or moving cargo or freight ; shipping containers
             29.04.03 - Blue (single color used on packaging, labels or signs)
             29.05.03 - Blue (multiple colors used on the entire goods)
 Serial
                  75544375
 Number
 Filing Date      August 24, 1998
 Current
                  1A
 Basis
 Original
                  1A
 Filing Basis
 Published
 for              March 28, 2000
 Opposition
 Registration
              2359351
 Number
 Registration
              June 20, 2000
 Date
 Owner            (REGISTRANT) Tiffany and Company CORPORATION NEW YORK 727 Fifth Avenue New York NEW YORK 10022

                  (LAST LISTED OWNER) TIFFANY (NJ) LLC CORPORATION DELAWARE 15 SYLVAN WAY PARSIPPANY NEW
                  JERSEY 07054
 Assignment
                  ASSIGNMENT RECORDED
 Recorded
 Attorney of
                  LAWRENCE E. APOLZON
 Record
 Prior
               2184128
 Registrations
 Description      The mark consists of a shade of blue often referred to as robin's-egg blue which is used on boxes. The matter shown
 of Mark          in broken lines represents boxes of various sizes and serves to show positioning of the mark. No claim is made to
                  shape of the boxes. The drawing is lined for the color blue, and color is a feature of the mark.
 Type of Mark TRADEMARK. SERVICE MARK
 Register         PRINCIPAL-2(F)
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20100617.
 Renewal          1ST RENEWAL 20100617
 Live/Dead
                  LIVE
 Indicator




                                            |.HOME | SITE INDEX| SEARCH | e BUSINESS | HELP | PRIVACY POLICY




http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.10.1[3/19/2015 3:20:30 PM]
USPTO Assignments on the Web
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            United States Patent and Trademark Office

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 Assignments on the Web > Trademark Query


                                     Trademark Assignment Abstract of Title
  Total Assignments: 4
          Serial #: 75544375                Filing Dt: 08/24/1998                  Reg #: 2359351                  Reg. Dt: 06/20/2000
       Registrant: Tiffany and Company
             Mark:
  Assignment: 1
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                            Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                     727 FIFTH AVENUE

                     NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                     JOCELYN G. BOLLING

                     1001 PENNSYLVANIA AVENUE, N.W.

                     WASHINGTON, DC 20004
  Assignment: 2
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                            Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                     727 FIFTH AVENUE

                     NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                     PATRICIA RUSSELL BROWN

                     1001 PENNSYLVANIA AVENUE, N.W.

                     WASHINGTON, DC 20004
  Assignment: 3
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                            Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                  Exec Dt: 01/29/2008
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                Entity Type: CORPORATION
                                                                                                  Citizenship: DELAWARE
                     15 SYLVAN WAY




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=75544375[3/19/2015 3:21:09 PM]
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                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 4
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                 CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                 CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                 ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                 (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

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                   NEW YORK, NY 10017


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                                                             Web interface last modified: July 25, 2014 v.2.5




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   Trademarks > Trademark Electronic Search System (TESS)
   
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 Record 1 out of 1

                                                       ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark                 TIFFANY
 Goods and                 IC 014. US 002 027 028 050. G & S: watches and clocks. FIRST USE: 18680000. FIRST USE IN COMMERCE:
 Services                  18680000
 Mark Drawing
                           (1) TYPED DRAWING
 Code
 Serial Number             76388031
 Filing Date               March 25, 2002
 Current Basis             1A
 Original Filing
                           1A
 Basis
 Published for
                           July 30, 2002
 Opposition
 Registration
                           2639539
 Number
 Registration Date         October 22, 2002
 Owner                     (REGISTRANT) Tiffany (NJ) Inc. CORPORATION NEW JERSEY 15 Sylvan Way Parsippany NEW JERSEY
                           07054

                           (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                           PARSIPPANY NEW JERSEY 07054
 Assignment
                           ASSIGNMENT RECORDED
 Recorded
 Attorney of Record Lawrence E. Apolzon
 Prior Registrations 0023573;0133063;1818891;1968614;AND OTHERS
 Type of Mark              TRADEMARK
 Register                  PRINCIPAL
 Affidavit Text            SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130204.
 Renewal                   1ST RENEWAL 20130204
 Live/Dead


http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.11.1[3/19/2015 3:21:53 PM]
Trademark Electronic Search System (TESS)
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                         LIVE
 Indicator




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USPTO Assignments on the Web
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            United States Patent and Trademark Office

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 Assignments on the Web > Trademark Query


                                       Trademark Assignment Abstract of Title
  Total Assignments: 2
          Serial #: 76388031                    Filing Dt: 03/25/2002                             Reg #: 2639539                           Reg. Dt: 10/22/2002
       Registrant: Tiffany (NJ) Inc.
             Mark: TIFFANY
  Assignment: 1
     Reel/Frame: 3757/0871                                  Recorded: 04/10/2008                                                              Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                                     Exec Dt: 01/29/2008
                                                                                                                    Entity Type: CORPORATION
                                                                                                                    Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                  Entity Type: CORPORATION
                                                                                                                    Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 2
     Reel/Frame: 3786/0665                                  Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                     Exec Dt: 01/29/2008
                                                                                                                    Entity Type: CORPORATION
                                                                                                                    Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                  Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                    Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

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                   NEW YORK, NY 10017


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   Trademarks > Trademark Electronic Search System (TESS)
   
 TESS was last updated on Thu Mar 19 03:21:04 EDT 2015



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                                                       ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark           ATLAS
 Goods and           IC 014. US 002 027 028 050. G & S: jewelry; rings; bracelets; earrings; necklaces; pendants; tie clips; cuff-links; and
 Services            precious metal money clips. FIRST USE: 19950519. FIRST USE IN COMMERCE: 19950519

                     IC 021. US 002 013 023 029 030 033 040 050. G & S: crystal bowls; crystal candlesticks; crystal vases; crystal ice
                     buckets; crystal boxes; [ crystal tumblers; ] crystal beverage ware; [ crystal high-ball glasses; crystal pilsner stemware;
                     crystal wine glasses; ] and crystal carafes. FIRST USE: 19980800. FIRST USE IN COMMERCE: 19980800
 Mark
 Drawing             (1) TYPED DRAWING
 Code
 Serial
                     78304973
 Number
 Filing Date         September 24, 2003
 Current
                     1A
 Basis
 Original
                     1A
 Filing Basis
 Published
 for                 June 29, 2004
 Opposition
 Registration
              2886655
 Number
 Registration
              September 21, 2004
 Date
 Owner               (REGISTRANT) Tiffany (NJ) Inc. CORPORATION NEW JERSEY 15 Sylvan Way Parsippany NEW JERSEY 07054

                     (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                     PARSIPPANY NEW JERSEY 07054
 Assignment
                     ASSIGNMENT RECORDED
 Recorded
 Attorney of
                     Lawrence E. Apolzon
 Record
 Prior
               1605467
 Registrations
 Type of Mark TRADEMARK
 Register            PRINCIPAL


http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.12.1[3/19/2015 3:23:04 PM]
Trademark Electronic Search System (TESS)
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 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20140918.
 Renewal          1ST RENEWAL 20140918
 Live/Dead
                  LIVE
 Indicator




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http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.12.1[3/19/2015 3:23:04 PM]
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                                       Trademark Assignment Abstract of Title
  Total Assignments: 2
          Serial #: 78304973                    Filing Dt: 09/24/2003                             Reg #: 2886655                           Reg. Dt: 09/21/2004
       Registrant: Tiffany (NJ) Inc.
             Mark: ATLAS
  Assignment: 1
     Reel/Frame: 3757/0871                                  Recorded: 04/10/2008                                                              Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                                     Exec Dt: 01/29/2008
                                                                                                                    Entity Type: CORPORATION
                                                                                                                    Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                  Entity Type: CORPORATION
                                                                                                                    Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 2
     Reel/Frame: 3786/0665                                  Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                     Exec Dt: 01/29/2008
                                                                                                                    Entity Type: CORPORATION
                                                                                                                    Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                  Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                    Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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                                                              Web interface last modified: July 25, 2014 v.2.5




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